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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

WOODHULL FREEDOM FOUNDATION, et al.,                      )
                                                          )
                   Plaintiffs,                            )
                                                          )
       v.                                                 )    Case No. 1:18-cv-1552-RJL
                                                          )
THE UNITED STATES OF AMERICA, et al.,                     )
                                                          )
                   Defendants.                            )

                                 NOTICE OF APPEARANCE

       THE CLERK OF THE COURT will please enter the appearance of Ronald G. London

as counsel for Plaintiffs in the above-captioned case.

       Dated: July 2, 2018

                                               Respectfully submitted,

                                               /s/ Ronald G. London
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